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                                                                                     FILED IN THE
                                                                                 U.S. DISTRICT COURT
3                                                                          EASTERN DISTRICT OF WASHINGTON




4
                                                                            Jun 14, 2019
                                                                                SEAN F. MCAVOY, CLERK


5                          UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF WASHINGTON

7    UNITED STATES OF AMERICA,                          No. 1:19-CR-02032-SMJ-1

8                         Plaintiff,                    ORDER FOLLOWING
                                                        ARRAIGNMENT ON INDICTMENT
9    vs.                                                AND DENYING DEFENDANT’S
                                                        MOTION TO RECONSIDER
10   JAMES DEAN CLOUD,                                  RESTRAINT ORDER

11                        Defendant.                    ECF No. 26

12         On Friday, June 14, 2019, Defendant was arraigned on the Indictment (ECF

13   No. 17). Defendant appeared, in custody, with Assistant Federal Defender Jeremy

14   Sporn. Assistant United States Attorney Thomas Hanlon represented the United

15   States.

16         Defendant was advised of, and acknowledged the charges against him and

17   the penalties he faces.

18         Defendant was advised of, and acknowledged Defendant’s rights.

19         Defendant pled not guilty.

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     ORDER - 1
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1             The Court appointed counsel to represent Defendant (ECF No. 25) and

2    addressed detention (ECF No. 14) in previous orders.

3             The Court directs the parties to review the Local Criminal Rules governing

4    discovery and other issues in this case. http://www.waed.uscourts.gov/court-

5    info/local-rules-and-orders/general-orders.

6             Defendant orally moved for the Court to reconsider its prior order (ECF No.

7    22) authorizing full restraints during magistrate court proceedings. ECF No. 26.

8    Specifically, Defendant objected to the process by which the U.S. Marshal Service

9    made the request to the Court to place Defendant in full restraints and Defendant

10   requested an opportunity to cross-examine the relevant Deputy U.S. Marshals

11   regarding the circumstances of the request.

12            The Court denied Defendant’s request. First, Defendant provided no legal

13   authority supporting a request to cross-examine the Deputy U.S. Marshals

14   regarding their courtroom security requests. Moreover, as noted in the prior order,

15   the Ninth Circuit’s Sanchez-Gomez individualized assessment standard for

16   courtroom restraints is no longer good law. United States v. Sanchez-Gomez, 138

17   S. Ct. 1532, 1542 (2018). Although this Court continues to make individualized

18   assessments when ordering courtroom restraints, the vacated Sanchez-Gomez

19   opinion does not create any entitlement for Defendant to request the procedure he

20   seeks.



     ORDER - 2
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1          Second, the Court is not inclined to permit testimony articulating the specific

2    security concerns posed in this courthouse, particularly in the presence of an

3    individual with this Defendant’s history of escape, attempted escape, and flight

4    from law enforcement.

5          Third, and most importantly to this Court’s consideration, the vast majority

6    of the information the Court cited in its prior order authorizing full restraints is

7    related to Defendant’s prior conduct and is derived from court documents that have

8    already been subject to challenge by Defendant’s prior counsel. The Court’s order

9    cites to Defendant’s presentence investigation report and supervised release

10   petitions from Defendant’s prior federal criminal case, 2:10-cr-02077-RMP. The

11   information contained in these documents was subject to challenge by Defendant’s

12   attorney in that case. Significantly, in support of his motion for reconsideration,

13   Defendant did not challenge any of the information related to Defendant’s prior

14   conduct. Defendant’s current request to cross-examine the Deputy U.S. Marshals

15   is not relevant to the information contained in the Court’s order authorizing the use

16   of full restraints, which order documents Defendant’s substantial history of escape,

17   attempted escape-related conduct, dangerous behavior while in custody,

18   absconding from supervision, and flight from law enforcement. Accordingly;

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     ORDER - 3
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1         IT IS HEREBY ORDERED:

2         1. Defendant’s Motion to Reconsider Restraint Order (ECF No. 26) is

3            DENIED.

4         2. Defendant is bound over to Judge Salvador Mendoza, Jr. for further

5            proceedings.

6         DATED this June 14, 2019.

7                              s/Mary K. Dimke
                               MARY K. DIMKE
8                     UNITED STATES MAGISTRATE JUDGE

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     ORDER - 4
